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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )              CASE NO. 4:05CR387
                                                )
              Plaintiff,                        )
                                                )
              vs.                               )              ORDER OF RECUSAL
                                                )
DARTAVIAN DE SHAWN WATSON, et                   )
al.                                             )
                                                )
              Defendants.                       )

       This matter is before the Court on the Court’s own motion pursuant to 28 U.S.C.

455(a), which states: “Any . . . judge . . . of the United States shall disqualify himself in any

proceeding in which his impartiality might reasonably be questioned.” Upon review of the

Court file in the above-designated case, the undersigned judge shall, and hereby does,

recuse herself from the above-designated case pursuant to 28 U.S.C. § 455(a).


       IT IS SO ORDERED.


       DATED this 26th day of October, 2005.


                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
